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                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                                 CASE NO. 18-70257-JWC

 VANESSA NIECHELLE WINDHAM,                             CHAPTER: 13

                Debtor.                                 JUDGE: HONORABLE JEFFERY W.
                                                        CAVENDER
 U.S. BANK NATIONAL ASSOCIATION, AS                     CONTESTED MATTER
 TRUSTEE FOR J.P. MORGAN
 ALTERNATIVE LOAN TRUST 2006-S2,
 MORTGAGE PASS-THROUGH
 CERTIFICATES,

                Movant,
 v.

 VANESSA NIECHELLE WINDHAM, Debtor
 NANCY J. WHALEY, Trustee,

                Respondent(s).


                            MOTION FOR ORDER LIFTING STAY

       Pursuant to the Order entered in this contested matter December 19, 2019, a copy of which

is attached, Movant requests the Court to enter an Order lifting the automatic stay to permit Movant

to foreclose. As shown in the attached Affidavit in support of this Motion, there was a default in
making payments required under the Order.

       Movant also requests that the provisions of Bankruptcy Rule 4001(a)(3) be waived.


                                                       /s/ Bryce Noel
                                                       Bryce Noel, Bar No.: 620796
                                                       Attorney for Movant
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (888) 873-6147
                                                       Email: BNoel@aldridgepite.com
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     IT IS ORDERED as set forth below:



     Date: December 19, 2019
                                                         _________________________________

                                                                  Jeffery W. Cavender
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________



                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                   CASE NO. 18-70257-JWC

VANESSA NIECHELLE WINDHAM,                               CHAPTER: 13
          Debtor.
                                                         JUDGE: JEFFERY W. CAVENDER
U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE FOR J.P. MORGAN
ALTERNATIVE LOAN TRUST 2006-S2,
MORTGAGE PASS-THROUGH
CERTIFICATES,
           Movant,
                                                         CONTESTED MATTER
v.

VANESSA NIECHELLE WINDHAM, Debtor
NANCY J. WHALEY, Trustee,
          Respondent(s).


              CONSENT ORDER ON MOTION FOR RELIEF FROM STAY (#29)
         The above styled Motion having been scheduled for a hearing before the Court on

October 8, 2019, upon Notice of Assignment of Hearing to each of the above-captioned parties

in interest, and it appearing to the Court that the parties consent hereto:
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       FURTHER IT IS HEREBY ORDERED that the Motion for Relief from Stay with respect

to 1974 Marvin Lane, Atlanta, Georgia 30311 is denied, as the parties herein agree that the

interest of Movant is adequately protected by payment and performance as more particularly set

forth hereinafter.

       FURTHER ORDERED that the post-petition arrearage through October 1, 2019, totals

$2,964.87, including three (3) payments of $988.29 each.

       This arrearage shall be paid as follows:

       Debtor shall receive a credit of $369.75 is suspense. Debtor is ordered to pay the
       sum of $2,300.00 instanter. Beginning November 1, 2019, Debtor shall resume
       timely remittance of the regular monthly mortgage payments. Beginning
       November 15, 2019 and continuing on the 15th day of each subsequent month,
       Debtor shall pay an additional $98.37 per month, for two (2) months and one (1)
       month of $98.38, or until the arrearage is cured. Payments should be sent to:

       Select Portfolio Servicing, Inc.
       PO Box 65450
       Salt Lake City, UT 84165
       or to such address as may be designated. It is


       FURTHER ORDERED that should Debtor(s) default in payment of any sum specified

herein, or in any regular monthly mortgage payments which come due according to Movant’s

Loan Documents for a period of six (6) months from the date of entry of this order, then upon

notice of default sent by first class mail to Debtor(s), attorney for Debtor(s) and the Trustee, and

failure of Debtor(s) to cure such default within ten (10) days from the date of receipt of such

notice, Movant may file a motion and affidavit of default, with service upon Debtor(s), attorney

for Debtor(s) and the Trustee. If no motion to convert case, motion to sell, response disputing the

factual allegations of the motion, or response alleging some extraordinary circumstances

comparable to those contemplated by Fed. R. Civ. P. 60(b) is filed within twenty (20) days from
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the date of service of the motion and affidavit of default, the Court may enter an Order lifting the

automatic stay, without further notice or hearing.

       FURTHER ORDERED that in the event relief from the automatic stay is later granted,

the Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R.

Bank. P. 4001(a)(3) may be waived.

       FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

of the amount due to Movant and to any subordinate lienholder(s) properly entitled to receive

proceeds under applicable State Law that would otherwise be payable to the Debtor(s), shall be

paid to the Trustee for the benefit of the Estate while the Debtor(s) remains in bankruptcy.

                                     [END OF DOCUMENT]

CONSENTED TO BY:
/s/ Andrew H. McCullen
Andrew H. McCullen, Bar No.: 872658
Attorney for Movant
Aldridge Pite, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (619) 590-1385
Email: amccullen@aldridgepite.com

_/s/ Howard P. Slomka_______________________ with express permission
Howard P. Slomka, Bar No.
Attorney for Debtor(s)
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339
Phone: (404) 800-4001
Email: se@myatllaw.com
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NO OPPOSITION:

_/s/ Julie M. Anania____________________ with express permission
Julie M. Anania, Bar No. 477064
Attorney for Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303
Phone: (678) 992-1201
Email: ecf@njwtrustee.com
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                                     DISTRIBUTION LIST

Vanessa Niechelle Windham
3651 Preakness Drive
Decatur, GA 30034

Howard P. Slomka
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Nancy J. Whaley
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

Aldridge Pite, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
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                               Oregon ∙ Tennessee ∙ Texas ∙ Utah ∙ Washington

                                                 April 23, 2020


        Vanessa Niechelle Windham                          Howard P. Slomka
        3651 Preakness Drive                               Slipakoff & Slomka, PC
        Decatur, GA 30034                                  Suite 2100
                                                           3350 Riverwood Parkway
                                                           Atlanta, GA 30339
                                                           se@myatllaw.com
       Re:    Windham, Vanessa Niechelle
              Bankruptcy Case No.: 18-70257-JWC
              Creditor: U.S. Bank National Association, as Trustee for J.P. Morgan Alternative Loan
              Trust 2006-S2, Mortgage Pass-Through Certificates
              Our File No.: 000368-002286-M
              Property Address: 1974 Marvin Lane, Atlanta, Georgia 30311

       Dear Addressees:

              I am writing to you on behalf of U.S. Bank National Association, as Trustee for J.P. Morgan
       Alternative Loan Trust 2006-S2, Mortgage Pass-Through Certificates to advise you that there has
       been a default on payments pursuant to the Order filed December 19, 2019.

               The default is the result of failure to remit the regular monthly mortgage payment of $988.29
       for the months of February 2020 through April 2020. The total amount necessary to cure the default
       is $2,284.86, which reflects a credit of $680.01 in suspense. Payment should be sent directly to
       Select Portfolio Servicing Inc., P.O. Box 65450, Salt Lake City, UT 84165. Payment in less than the
       full amount might not be accepted. For any questions regarding this notice, please call (404) 994-
       7400.
               If this default is not cured within ten (10) days after the date of receipt of this notice,
       additional fees and costs may be incurred, and the Court may enter an Order granting the relief for
       which the Order provides.

       Please contact the undersigned if you have questions regarding the default.

       Sincerely,

       /s/ Bryce Noel                                         cc:    Nancy J. Whaley
                                                              Nancy J. Whaley, 13 Trustee
       Bryce Noel                                             303 Peachtree Center Avenue
       BNoel@aldridgepite.com
       (858) 750-7600                                         Suite 120, Suntrust Garden Plaza
                                                              Atlanta, GA 30303
                                                              ecf@njwtrustee.com



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                                              San Diego, CA 92177-0933
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                                  CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on the June 15, 2020, I caused a copy of the

Motion for Order Lifting Stay, Proposed Order Granting Motion for Relief from Stay and

Affidavit which were filed in this bankruptcy matter on the June 15, 2020, to be served in the

manner indicated:

The following parties have been served by the Court by the virtue of their participation in
the CM/ECF system:

 Howard P. Slomka                                  Department of Justice

 Nancy J. Whaley

The following parties have been served via U.S. First Class Mail:

 Vanessa Niechelle Windham
 3651 Preakness Drive
 Decatur, GA 30034




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Dated: June 15, 2020                                  /s/ Bryce Noel
                                                       Bryce Noel, Bar No.: 620796
                                                       Attorney for Movant
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (888) 873-6147
                                                       Email: BNoel@aldridgepite.com
